                        Case 6:21-cv-00240-ADA Document 15 Filed 08/23/21 Page 1 of 1
AO 120 (Rev. 08/10)
                              Mail Stop 8                                                     REPORT ON THE
TO:
          Director of the U.S. Patent and Trademark Office                            FILING OR DE TERMINATION OF AN
                            P.O. Box 1450                                             ACTION REGARDING A PATENT OR
                     Alexandria, VA 22313-1450                                                  TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court Western District Of Texas                                                    on the following
       □ Trademarks or       K Patents. ( □ the patent action involves 35 U.S.C. § 292.):
DOCKET NO.                        DATE FILED                      U.S. DISTRICT COURT
     6:21-cv-00240                      03/10/2021                 Western District of Texas
PLAINTIFF                                                                 DEFENDANT

    DISPLAY TECHNOLOGIES, LLC,                                              GENERAL MOTORS COMPANY


        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 US 9,300,723                            03/29/2016                DISPLAY TECHNOLOGIES, LLC,

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                   □ Amendment                □ Answer          □ Cross Bill            □ Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT


    8/23/2021 NOTICE of Voluntary Dismissal by Display Technologies, LLC (document 14)



                                                                                                                         DATE
                                                                                                                             08/23/2021

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
